[EDITOR'S NOTE: This case is unpublished as indicated by the issuing court.]MEMORANDUM RE MOTION TO DISMISS BYTHIRD PARTY DEFENDANT — STATE OF CONNECTICUT
The underlying action appears to be a common law tort action instituted against a State Trooper. Defendant police officer filed a third party complaint for indemnification from the State pursuant to § 29-8a.
While the State, in its brief, concedes that the action is in the nature of a civil rights violation claim, the plaintiff has not alleged such specifically.
The State, third party defendant, moved to dismiss on the ground of lack of subject matter jurisdiction.
While sovereign immunity may bar an action of this type, lacking Claim Commission consideration, § 29-8a of the Connecticut General Statutes expressly creates a claim of indemnification in CT Page 12441 favor of the defendant, State Police Trooper.
The state suggests that there can be no action taken directly by the plaintiff against the defendant and the State. Such appears to be true.
However, the history of this case discloses that it is the defendant Trooper who has cited the State in on the basis if indemnity pursuant to authority of § 29-81 C.G.S.
Accordingly, the motion to dismiss is hereby denied.
FORD, J.